Case 5:24-cv-00703-PCP Document 37-1 Filed 05/30/24 Page 1 of 22




 EXHIBIT 78
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page12ofof21
                                                                             22




 1
                                                               Honorable Jamal N. Whitehead
 2

 3

 4

 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     VALVE CORPORATION                             Case No. 2:23-cv-01016
 8
                                Plaintiff,
 9         v.                                       DEFENDANTS’ MOTION TO DISMISS
                                                    PLAINTIFF’S SECOND AMENDED
10                                                  COMPLAINT FOR DECLARATORY
   LEIGH ROTHSCHILD, ROTHSCHILD
                                                    JUDGMENT
   BROADCAST DISTRIBUTION SYSTEMS,
11
   LLC, DISPLAY TECHNOLOGIES, LLC,
                                                      NOTE ON MOTION CALENDAR:
   PATENT ASSET MANAGEMENT, LLC,
12                                                    February 23, 2024
   MEYLER LEGAL, PLLC, AND SAMUEL
   MEYLER,
13                                                    ORAL ARGUMENT REQUESTED

14                              Defendants.
15

16

17

18

19

20

21

22

23

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                     DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 1 of 21             12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                      Phone: (206) 494.0400
                Case
                 Case5:24-cv-00703-PCP
                      2:23-cv-01016-JNW Document
                                         Document37-1
                                                  40 Filed
                                                      Filed01/30/24
                                                            05/30/24 Page
                                                                      Page23ofof21
                                                                                 22




 1                                                     TABLE OF CONTENTS

 2 I.       INTRODUCTION ................................................................................................................. 5

 3 II. SUMMARY OF RELEVANT FACTS ................................................................................ 5

 4 III. SUMMARY OF RELEVANT LEGAL PRINCIPLES ...................................................... 8

 5              A.        Declaratory Judgment…………………………………………………………...8

 6              B.        Motions to Dismiss………………………………………………………………..9

 7              C.        Washington’s Patent Troll Prevention Act (RCW 19.350)……………………10

 8              D.        Waiver ……………………..…..………………………………………….…….11

 9 IV. ARGUMENT ....................................................................................................................... 12

10              A.        There is no Justiciable Case or Controversy Between Plaintiff and
                          Defendants. .......................................................................................................... 12
11
                B.        The Complaint Fails to Allege Sufficient Facts to Show Defendants
12                        Breached Their Agreement with Plaintiff. ....................................................... 13

13              C.        Defendants Did Not Violate Washington’s Patent Troll Prevention
                          Act (RCW 19.350)………………………………………………………………16
14
                D.        Plaintiff’s Claims Against Meyler Legal and Samuel Meyler Must
15                        Be Dismissed Based on the Litigation Privilege………………………………..18

16              E.        Plaintiff is not Entitled to Any Damages……………………………………….19

17 V. CONCLUSION .................................................................................................................... 20

18

19

20

21

22

23

24
         DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                                                   DC LAW GROUP
         SECOND AMENDED COMPLAINT – Page 2 of 21                                           12055 15th Ave NE | Seattle, WA 98125
         Case No. 2:23-cv-01016                                                                    Phone: (206) 494.0400
               Case
                Case5:24-cv-00703-PCP
                     2:23-cv-01016-JNW Document
                                        Document37-1
                                                 40 Filed
                                                     Filed01/30/24
                                                           05/30/24 Page
                                                                     Page34ofof21
                                                                                22




 1                                               TABLE OF AUTHORITIES

 2 Cases

 3 Aleutian Constructors v. United States, 24 Cl. Ct. 372 (1991)…………………………………11

 4 Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................... 10

 5 Bell Atl. Corp. v. Twombly, 550 U.S.544 (2007) .......................................................................... 10

 6 Benitec Australia, Ltd. v. Nucleonics, Inc., 495 F.3d 1340 (Fed. Cir. 2007)………………9, 12, 13

 7 Bruce v. Byrne-Stevens & Associates Engineers, Inc., 113 Wash.2d 123,
       776 P.2d 666 (1989)………………………………………………………………………….19
 8
   Cities Service Helex, Inc. v. United States, 543 F.2d 1306 (Ct. Cl. 1976)………………………11
 9
   Colorado Structures, Inc. v. Insurance Co. of the West, 161 Wn.2d 577,
10     167 P.3d 1125 (2007)………………………………………………………………………11

11 Deatherage v. Examining Board of Psychology, 134 Wash.2d 131,
      948 P.2d 828 (1997)…………………………………………………..…………………18, 19
12
   Demopolis v. Peoples National Bank of Washington, 59 Wn. App. 105,
13    796 P.2d 426 (1990)………………………………………………………………….18

14 Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338 (Fed. Cir. 2010)………………………9, 12, 13

15 Engelmohr v. Bache, 66 Wn.2d 103, 401 P.2d 346 (1965)……………………………………….18

16 Jeckle v. Crotty, 120 Wash. App. 374, 85 P.3d 931 (2004)………………………………………19

17 Kokkonen v. Guardian Life Insurance Co. of Am., 511 U.S. 375 (1994)…………………………9

18 McCarthy v. United States, 850 F.2d 558 (9th Cir. 1988)………………………………………11

19 Mason v. Mason, 19 Wash. App. 2d 803, 497 P.3d 431 (2021)…………………………………18

20 McNeal v. Allen, 95 Wash.2d 265, 621 P.2d 1285 (1980)………………………………………..19

21 MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007)……………………………………8, 9

22 Negrel v. Drive N Style Franchisor Spv LLC, No. SACV 18-00583 JVS(KESx),
     2018 U.S. LEXIS 227479 (C.D. Cal. Aug. 27, 2018)………………………………………..20
23
   Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365 (1978)………………………………….9
24
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                                            DC LAW GROUP
        SECOND AMENDED COMPLAINT – Page 3 of 21                                    12055 15th Ave NE | Seattle, WA 98125
        Case No. 2:23-cv-01016                                                             Phone: (206) 494.0400
                Case
                 Case5:24-cv-00703-PCP
                      2:23-cv-01016-JNW Document
                                         Document37-1
                                                  40 Filed
                                                      Filed01/30/24
                                                            05/30/24 Page
                                                                      Page45ofof21
                                                                                 22




 1 Revolution Eyeware Inc. v. Aspex Eyewear, Inc., 556 F.3d 1294 (Fed. Cir. 2013)……………….9

 2 Rhoades v. Avon Products, Inc., 504 F.3d 1151 (9th Cir. 2007)………………………………….9

 3 Silver States Land LLC v. United States, 155 Fed. Cl. 209 (Ct. Cl. 2021)……………………11, 15

 4 Stock W., Inc. v. Confederated Tribes of the Colville Reservation,
      873 F.2d 1221 (9th Cir. 1989)………………………………………………………………9
 5
   Super Sack Mfg. Corp. v. Chase Packaging Corp., 57 F.3d 1054 (Fed. Cir. 1995)………………8
 6
   Young v. Rayan, 533 P.3d 123 (Wash. Ct. App. 2023)………………………………………18, 19
 7

 8 Statutes

 9 RCW 19.350 .......................................................................................................................... passim

10 RCW 19.86………………………………………………………………………………………16

11
     Rules
12
     Fed. R. Civ. P. 12(b)(1)......................................................................................................... 7, 9, 10
13
     Fed. R. Civ. P. 12(b)(6).......................................................................................................... passim
14

15 Other Authorities

16 Restatement (First) of Contracts § 309…………………………………………………………11

17

18

19

20

21

22

23

24
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                                                  DC LAW GROUP
        SECOND AMENDED COMPLAINT – Page 4 of 21                                          12055 15th Ave NE | Seattle, WA 98125
        Case No. 2:23-cv-01016                                                                   Phone: (206) 494.0400
             Case
              Case5:24-cv-00703-PCP
                   2:23-cv-01016-JNW Document
                                      Document37-1
                                               40 Filed
                                                   Filed01/30/24
                                                         05/30/24 Page
                                                                   Page56ofof21
                                                                              22




 1 I.       INTRODUCTION

 2          Plaintiff Valve Corporation accuses Defendants Leigh Rothschild, Rothschild Broadcast

 3 Distribution Systems, LLC, Display Technologies, LLC, Patent Asset Management, LLC

 4 (collectively, “the Rothschild Defendants”) and Meyler Legal, PLLC and Samuel Meyler, Esq.

 5 (collectively, “the Meyler Defendants”) of a having committed a variety of wrongs and seeks a

 6 declaratory judgement that U.S. Patent No. 8,856,221—to which Plaintiff has a valid, irrevocable

 7 license and covenant not to sue—is invalid and unenforceable against Plaintiff. Plaintiff also seeks

 8 a judgment that the Rothschild Defendants have breached their agreement with Plaintiff and have

 9 violated Washington’s Patent Troll Prevent Act and Consumer Protection Act.

10          Contrary to the allegations in Plaintiff’s Second Amended Complaint (Dkt #38), however,

11 there is no justiciable case or controversy between the parties because Plaintiff has a fully paid-

12 up, irrevocable license and a covenant not to sue from the Rothschild Defendants. Plaintiff is

13 attempting to make “a mountain out of a mole hill” by characterizing a simple clerical error as

14 some sort of legal malfeasance involving a conspiracy among multiple individuals and

15 corporations acting in concert. Plaintiff is plainly hoping to dissuade Defendants from legitimately

16 seeking to enforce their legal patent rights against Plaintiff in the future. Plaintiff’s Complaint

17 should therefore be dismissed under Fed. R. Civ. P. 12(b)(1), for lack of subject matter jurisdiction,

18 and Fed. R. Civ. P. 12(b)(6), for failure to state a claim.

19 II.      SUMMARY OF RELEVANT FACTS

20          Leigh M. Rothschild is a prolific inventor, having been named as the sole inventor on over

21 one hundred thirty (130) issued United States patents over the past two decades. Many of those

22 patents have been licensed to companies seeking to exploit Mr. Rothschild’s inventions. Mr.

23 Rothschild is a former presidential appointee to the High-Resolution Board for the United States

24
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                          DC LAW GROUP
        SECOND AMENDED COMPLAINT – Page 5 of 21                  12055 15th Ave NE | Seattle, WA 98125
        Case No. 2:23-cv-01016                                           Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page67ofof21
                                                                             22




 1 under former President George H.W. Bush and has also served as an advisor for former President

 2 Ronald Reagan. Mr. Rothschild has served Governors on technology boards, served as a special

 3 advisor to then Florida Secretary of Commerce John Ellis “Jeb” Bush, and served on the IT Florida

 4 Technology Board as an appointee of former Governor John Ellis “Jeb” Bush.

 5          Having recognized the commercial value of patents through licensing his own inventions,
 6 Mr. Rothschild began to assist other inventors in monetizing their inventions. In connection with

 7 this effort, Mr. Rothschild formed Patent Asset Management, LLC. (“PAM”). PAM is a holding

 8 company that manages various corporate entities established by Rothschild for the purpose of

 9 holding and licensing the rights to collections of U.S. patents, such as Rothschild Broadcast

10 Distribution Systems, LLC (“RBDS”) and Display Technologies LLC (“DT”). PAM has been

11 quite successful in its endeavors, licensing hundreds of patents to date and thereby rewarding the

12 individual inventors of those patents for their technological contributions.

13          In June 2015, DT filed suit against Plaintiff for patent infringement. Subsequent thereto, in
14 November 2016, Mr. Rothschild and DT entered into a Global Settlement and License Agreement

15 (“the GSLA”) covering a number of patents owned by DT and/or other entities controlled by Mr.

16 Rothschild. See Dkt #38-6 at 4-14, 21-24.

17          In March of 2022, Daniel Falcucci, the Director of Business Development at PAM,
18 contacted Plaintiff to see whether Plaintiff would be interested in obtaining a license to other

19 patents owned and/or controlled by Mr. Rothschild. See Dkt #38-5. Mr. Falcucci did not accuse

20 Plaintiff of patent infringement or threaten Plaintiff with a lawsuit and never made any demand

21 for money from Plaintiff. See id.

22          Meyler Legal, PLLC and its principal Samuel Meyler were first engaged as local counsel
23 by RBDS, DT and Social Positioning Input Systems, LLC (“SPIS”), another PAM managed entity,

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                            DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 6 of 21                    12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                             Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page78ofof21
                                                                             22




 1 in 2022 to assist in RBDS’s, DT’s and SPIS’ attempts to license the patents in their respective

 2 portfolios. Prior to that time, neither Meyler Legal nor Mr. Meyler had represented Mr. Rothschild,

 3 PAM, or any PAM-related entity.

 4         On September 27, 2022, Mr. Meyler, as local counsel, filed a lawsuit against Plaintiff on

 5 behalf of DT, viz. Display Technologies LLC v. Valve Corporation, Case No. 2:22-cv-01365 (WD

 6 Wash.), asserting U.S. Patent No. 9,300,723 (“the ‘723 patent”). Unbeknownst to Mr. Meyler at

 7 the time, the ‘723 patent was a continuation of a patent covered by the GSLA. When Plaintiff

 8 informed Mr. Meyler of this relationship, Mr. Meyler promptly dismissed the lawsuit on behalf of

 9 DT. See Dkt #1-6, Dkt #38 at ¶¶ 22-23.

10         On June 21, 2023, Mr. Meyler sent a letter to Plaintiff on behalf of his clients SPIS, RBDS

11 and Quantum Technology Innovations, LLC (“QTI”) regarding U.S. Patent No. 7,650,376 (“the

12 ‘376 patent”), U.S. States Patent No. 9,261,365 (hereinafter “the ‘365 patent”), and U.S. Patent

13 No. 8,856,221 (“the ‘221 patent”). See Dkt #38-8. Unbeknownst to Mr. Meyler at the time, the

14 ‘221 patent was also covered by the GSLA. However, rather than inform Mr. Meyler that the ‘221

15 patent was covered by the GSLA—as they had with ‘723 patent—and thereby resolve the issue

16 without any further inconvenience or expense, Plaintiff instead quickly filed a Complaint for

17 Declaratory Judgment Action on July 7, 2023. See Dkt #1.

18         The Rothschild Defendants and the Meyler Defendants moved to dismiss Plaintiff’s

19 Complaint pursuant to Fed. R. Civ. P 12(b)(1) and (6), primarily because there is no case or

20 controversy regarding the ‘221 patent between the Rothschild Defendants and Plaintiff in view of

21 the covenant not to sue in the GSLA. See Dkt #18. Because the ‘376 patent and the ‘365 patent

22 were not covered by the GSLA, however, lawsuits were subsequently filed against Valve for

23 infringement thereof, viz. Quantum Technology Innovations, LLC v. Valve Corporation, et al.,

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                          DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 7 of 21                  12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                           Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page89ofof21
                                                                             22




 1 Case No. 2:23-cv-00425 (ED Tex.) and Social Positioning Input Systems, LLC v. Valve

 2 Corporation, et al., Case No. 2:23-cv-00422 (ED Tex.).

 3          Plaintiff responded to the Rothschild Defendants’ and the Meyler Defendants’ Motion to

 4 Dismiss by first filing a First Amended Complaint on October 6, 2023, and, following renewal of

 5 Defendants’ Motion to Dismiss, a Second Amended Complaint (“SAC”) on January 16, 2024. See

 6 Dkt #23, Dkt #38. Plaintiff’s SAC, however, suffers from the same fundamental deficiency as

 7 Plaintiff’s original Complaint and Plaintiff’s First Amended Complaint—there simply is no case

 8 or controversy between the Rothschild Defendants and Valve regarding the ‘221 patent.

 9 III.     SUMMARY OF RELEVANT LEGAL PRINCIPLES

10          A.     Declaratory Judgment

11          The Declaratory Judgment Act provides that “[i]n a case of actual controversy . . . any court

12 of the United States . . . may declare the rights and other legal relations of any interested party

13 seeking such declaration, whether or not further relief is or could be sought.” 22 U.S.C. § 2201(a).

14 A party seeking such a declaration bears the burden of showing an actual controversy between it

15 and the other party or parties. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007)

16 (“[T]he question in each case is whether the facts alleged, under all the circumstances, show that

17 there is a substantial controversy, between the parties having adverse legal interests, of sufficient

18 immediacy and reality to warrant the issuance of a declaratory judgment.” (internal citation

19 omitted)).

20          It is well-settled that a covenant not to sue from a patent owner demonstrates that no case

21 or controversy exists between the parties to warrant exercise of declaratory judgment jurisdiction.

22 See Super Sack Mfg. Corp. v. Chase Packaging Corp., 57 F.3d 1054, 1059 (Fed. Cir. 1995) (a

23 covenant not to sue in the future for products made, used, or sold in the past removes actual

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                           DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 8 of 21                   12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                            Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed 01/30/24
                                                        05/30/24 Page
                                                                 Page 910ofof2122




 1 controversy in the present), abrogated on other grounds by MedImmune, 549 U.S. at 127. Whether

 2 a particular covenant not to sue actually divests a district court of jurisdiction “depends on what is

 3 covered by the covenant.” Revolution Eyeware Inc. v. Aspex Eyewear, Inc., 556 F.3d 1294, 1297

 4 (Fed. Cir. 2013).

 5          “A covenant not to sue for patent infringement divests the trial court of subject matter

 6 jurisdiction over claims that the patent is invalid, because the covenant eliminates any case or

 7 controversy between the parties.” Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1346 (Fed.

 8 Cir. 2010); see also Benitec Australia, Ltd. v. Nucleonics, Inc., 495 F.3d 1340, 1347-48 (Fed. Cir.

 9 2007) (affirming dismissal of declaratory judgment counts of invalidity and unenforceability based

10 upon plaintiff’s promise not to sue defendant for any activities of defendant).

11          B.      Motions to Dismiss

12          “Federal courts are courts of limited jurisdiction. They possess only that power authorized

13 by Constitution and statute.” Kokkonen v. Guardian Life Insurance Co. of Am., 511 U.S. 375, 377

14 (1994); see also Stock W., Inc. v. Confederated Tribes of the Colville Reservation, 873 F.2d 1221,

15 1225 (9th Cir. 1989) (“‘It is a fundamental principle that federal courts are courts of limited

16 jurisdiction.’” quoting Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 374 (1978)).

17          A party to a lawsuit can move a court to dismiss a declaratory action on the grounds that

18 no case or controversy exists under Fed. R. Civ. P. 12(b)(1). See Rhoades v. Avon Products, Inc.,

19 504 F.3d 1151, 1157 (9th Cir. 2007). When facing such a motion, the party asserting jurisdiction

20 bears the burden to establish jurisdiction. See Kokkonen, 511 U.S. at 377 (“It is to be presumed

21 that a cause lies outside [federal court] jurisdiction . . . and the burden of establishing the contrary

22 rests upon the party asserting jurisdiction.” internal citations omitted).

23

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 9 of 21                     12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page10
                                                                       11ofof21
                                                                              22




 1          When considering a motion to dismiss for lack of subject matter jurisdiction pursuant to

 2 Fed. R. Civ. P. 12(b)(1), a court “is not restricted to the face of the pleadings, but may review any

 3 evidence, such as affidavits and testimony, to resolve factual disputes concerning the existence of

 4 jurisdiction.” McCarthy v. United States, 850 F.2d 558, 560 (9th Cir. 1988).

 5          Dismissal of a claim under Federal Rule of Civil Procedure 12(b)(6) may be based on either

 6 the lack of a cognizable legal theory or the absence of sufficient facts alleged under a cognizable

 7 legal theory. Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1988). “While a

 8 complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations,

 9 a plaintiff's obligation to provide the grounds of his entitlement to relief requires more than labels

10 and conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell

11 Atlantic Corp. v. Twombly, 550 U.S. 544, 554-55 (2007) (internal citations omitted). Thus, to

12 survive a motion to dismiss, the complaint must provide sufficient factual allegations for “the court

13 to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

14 v. Iqbal, 556 U.S. 662, 678 (2009).

15          An affirmative defense, such as the litigation privilege, may be decided on a motion to

16 dismiss where the defense is apparent from the face of the pleadings. See Jablon v. Dean Witter,

17 614 F.2d 677, 682 (9th Cir. 1980).

18          C.     Washington’s Patent Troll Prevention Act (RCW 19.350)

19          Pursuant to the PTPA, “[u]nless done in bad faith, nothing in this section may be construed

20 to deem it an unfair or deceptive trade practice for any person who owns or has the right to license

21 or enforce a patent to: (a) Advise others of that ownership or right of license or enforcement; . . .

22 or (c) Seek compensation on account of a past or present infringement, or license to the patent,

23 when it is reasonable to believe that the person from whom compensation is sought may owe such

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                           DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 10 of 21                  12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                            Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page11
                                                                       12ofof21
                                                                              22




 1 compensation or may need or want such a license to practice the patent.” RCW 19.350.020(5)

 2 (2015) (emphasis added).

 3          In evaluating a party’s attempt to license their patent, “a court may consider the following

 4 factors as evidence that a person has made an assertion of patent infringement in good faith: . . .

 5 (b) The person has: (i) Engaged in reasonable analysis to establish a reasonable, good faith basis

 6 for believing the target has infringed the patent; and (ii) Attempted to negotiate an appropriate

 7 remedy in a reasonable manner; (c) The person has: . . . (ii) Successfully enforced the patent, or a

 8 substantially similar patent, through litigation; . . . [or] (e) The person is: (i) An inventor of the

 9 patent or an original assignee . . ..” RCW 19.350.020(5) (2015).

10          D.      Waiver

11          Under the contractual “election-of-remedies” doctrine, when a breach by one party allows

12 the non-breaching party to terminate the agreement, but the non-breaching party elects instead to

13 continue accepting performance from the breaching party, then the non-breaching party has re-

14 affirmed the contract and forfeits its right to terminate that contract. See Restatement (First) of

15 Contracts § 309; see also Silver States Land LLC v. United States, 155 Fed. Cl. 209, 214 (Ct. Cl.

16 2021) (“In such situations, ‘any act indicating an intent to continue the contract is an election, and

17 an election to continue may occur simply by the injured party's failure to take action to end the

18 agreement within a reasonable time after becoming aware of the facts.’ Aleutian Constructors v.

19 United States, 24 Cl. Ct. 372, 384 (1991). This is because, ‘[c]ontinuance of the contract is the

20 most common and clearest case of waiver.’ Id. (emphasis added) (citing Cities Service Helex, Inc.

21 v. United States, 543 F.2d 1306, 211 Ct. Cl. 222 (Ct. Cl. 1976)).”); Colorado Structures, Inc. v.

22 Insurance Co. of the West, 161 Wn.2d 577, 588-89, 167 P.3d 1125, 1131 (2007) (“When a contract

23 provision is both a condition and a promise, the remedies available for its breach vary by whether

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                           DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 11 of 21                  12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                            Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page12
                                                                       13ofof21
                                                                              22




 1 the breach is ‘material.’ If the breach is ‘material,’ the promisee has an election: He or she may

 2 treat the breach as a failure of a condition that excuses further performance, and thus terminate the

 3 contract, or he or she may waive the condition and allow performance to continue.” (internal

 4 citations omitted)).

 5 IV.      ARGUMENT

 6          A.      There is no Justiciable Case or Controversy Between Plaintiff and the
                    Rothschild Defendants or the Meyler Defendants Regarding the ‘221 Patent
 7
            Much like Plaintiff’s original Complaint and Plaintiff’s First Amended Complaint,
 8
     Plaintiff’s SAC concedes that the GSLA includes a covenant not to sue Plaintiff from Mr.
 9
     Rothschild and DT. See Dkt #38 at ¶ 67; cf. Dkt #1 at ¶ 64; Dkt #23 at ¶ 67. That covenant not to
10
     sue extends not only to Plaintiff, but also to, inter alia, Plaintiff’s direct and indirect customers,
11
     vendors, suppliers, manufacturers, distributors, and end-users, as well as their direct and indirect
12
     customers, vendors, suppliers, manufacturers, distributors, and end-users. See Dkt #38-6 at § 3.2.
13
            Significantly, the GSLA between the Parties remains in effect. See Dkt #38-6 at § 6.1. The
14
     covenant not to sue from Mr. Rothschild and DT therefore also remains in effect. See id. at § 3.2.
15
     Indeed, even if the GSLA had been terminated, the covenant not to sue from Mr. Rothschild and
16
     DT would still remain in effect. See id. at § 6.1 (“the licenses, releases, and covenants granted by
17
     [Mr. Rothschild and DT] shall survive in perpetuity.” (emphasis added)). And, as admitted by
18
     Plaintiff, the covenant not to sue in the GSLA also binds RBDS. See Dkt #38 at ¶ 61.
19
            Consequently, there is therefore no justiciable case or controversy between Plaintiff and
20
     any Defendant regarding the validity or enforceability of any patent covered by the GSLA. See
21
     Dow Jones, 606 F.3d at 1346; Benitec, 495 F.3d at 1347-48. This includes the ‘221 patent. See Dkt
22
     #38 at ¶ 60; Dkt #38-6 at p. 20. Counts I and II of Plaintiff’s SAC should therefore be dismissed
23
     for lack of subject matter jurisdiction.
24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 12 of 21                    12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page13
                                                                       14ofof21
                                                                              22




 1          Plaintiff attempts to circumvent the controlling law by alleging that “[t]his is that unique

 2 case where a covenant not to sue between the parties fails to provide [Plaintiff] with the protection

 3 it paid for because, unfortunately, the assurances given to [Plaintiff] in that agreement are

 4 worthless.” Dkt #38 at ¶ 57. That allegation, however, is false.

 5          As conceded by Plaintiff, when the Meyler Defendants inadvertently filed suit against

 6 Plaintiff on behalf of DT asserting the ‘723 patent, that suit was very promptly dismissed after

 7 Plaintiff informed the Meyler Defendants that the ‘723 patent was subject to the GSLA. See Dkt

 8 #1-6, Dkt #38 at ¶¶ 22-23. Moreover, neither the Rothschild Defendants nor the Meyler Defendants

 9 ever filed suit against Plaintiff on the ‘221 patent. The covenant not to sue in the GSLA has

10 therefore provided exactly the protection to Plaintiff that it was intended to and that Plaintiff

11 bargained for—Plaintiff is not currently being sued on the ‘723 patent or the ‘221 patent or any

12 other patent covered by the GSLA.

13          There is no justiciable case or controversy between Plaintiff and Defendants regarding the

14 ‘221 patent. Plaintiff has, and continues to have, a valid covenant not to sue from Defendants that

15 covers the ‘221 patent. And the law is clear this covenant not to sue is sufficient, in and of itself,

16 to extinguish any controversy regarding the validity or infringement of the ‘221 patent and to divest

17 this Court of Article III jurisdiction over Counts I and II of Plaintiff’s SAC. See Dow Jones, 606

18 F.3d at 1346; Benitec, 495 F.3d at 1347-48. Counts I and II of the SAC must be dismissed.

19          B.      The SAC Fails to Allege Sufficient Facts to Show the Rothschild Defendants
                    Breached or Anticipatorily Breached the GSLA
20
            Plaintiff accuses both RBDS and DT of breaching the GSLA, and Mr. Rothschild of
21
     breaching the agreement by virtue of his control over RBDS and DT. See Dkt #38 at ¶¶ 72, 75-77.
22
     Plaintiff’s SAC, however, fails to allege facts sufficient to support these claims.
23

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                            DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 13 of 21                   12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                             Phone: (206) 494.0400
           Case
            Case5:24-cv-00703-PCP
                 2:23-cv-01016-JNW Document
                                    Document37-1
                                             40 Filed
                                                 Filed01/30/24
                                                       05/30/24 Page
                                                                 Page14
                                                                      15ofof21
                                                                             22




 1          First, with respect to RBDS, for example, Plaintiff alleges that “RBDS breached at least

 2 Section 3.1 and anticipatorily breached Section 3.2 [of the GSLA] when it asserted the ‘221 Patent

 3 in its most recent demand letter.” Id. at ¶ 72. Neither of these allegations, however, is supported

 4 by the facts, as shown by the exhibits attached to the SAC.

 5          Section 3.1 of the GSLA provides that “[n]o royalties or additional payments of any kind

 6 shall be required in order to maintain this Agreement in force.” Dkt #38-6. As even a cursory

 7 review of Mr. Meyler’s letter attached to the SAC shows, however, Mr. Meyler did not demand

 8 any monetary payment from Plaintiff, much less a payment for the ‘221 patent. See Dkt #38-8.

 9 Instead, the express language of Mr. Meyler’s letter invited Valve “to explore a potential resolution

10 to the[] claims” of infringement of multiple patents. Despite Plaintiff’s partisan characterization,

11 this was not a demand for royalties or additional payments to maintain the GSLA in force. Indeed,

12 even though Plaintiff chose not to do so, at least one potential resolution to the claims of

13 infringement referenced in Mr. Meyler’s letter was Plaintiff informing Mr. Meyler that the ‘221

14 patent was covered by the GSLA. Nothing in Mr. Meyler’s letter is precluded by or contrary to the

15 terms of Section 3.1 of the GSLA.

16          Similarly, Plaintiff’s allegation that RBDS anticipatorily breached Section 3.2 of the GSLA

17 is based on sheer speculation, rather than facts. There is no reason to believe that RBDS would

18 have sued Plaintiff once learning that the ‘221 patent was subject to the GSLA, particularly since

19 another one of the Rothschild Defendants, DT, promptly dismissed an earlier inadvertently filed

20 lawsuit asserting the ‘723 patent when informed by Plaintiff that the ‘723 patent was subject to the

21 GSLA. See Dkt #38 at ¶¶ 22-23. Plaintiff has failed to allege any facts to suggest that any of the

22 Rothschild Defendants would have acted differently with respect to the ‘221 patent than they

23 previously did with respect to the ‘723 patent.

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                            DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 14 of 21                   12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                             Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page15
                                                                       16ofof21
                                                                              22




 1          Second, with respect to DT, Plaintiff alleges that DT breached the covenant not to sue in

 2 the GSLA “when it asserted U.S. Patent No. 9,300,723 in its 2022 lawsuit against Valve and

 3 continues to be in breach by failing to withdraw the 2022 demands from Mr. Falcucci.” Dkt #38

 4 at ¶ 76. Neither of these allegations, even if true, is sufficient.

 5          More specifically, to the extent 2022 lawsuit against Valve may have constituted a breach

 6 of the covenant not to sue, Valve did not seek redress for that breach at the time and has long since

 7 waived any right to do so. See Silver States Land LLC v. United States, 155 Fed. Cl. 209, 214 (Ct.

 8 Cl. 2021) (“In such situations, ‘any act indicating an intent to continue the contract is an election,

 9 and an election to continue may occur simply by the injured party's failure to take action to end

10 the agreement within a reasonable time after becoming aware of the facts.’ This is because,

11 ‘[c]ontinuance of the contract is the most common and clearest case of waiver.’” (internal citations

12 omitted).). Moreover, even if there was a breach of the covenant not to sue by DT in 2022, that

13 breach was remedied when DT dismissed the suit immediately upon learning that the ‘723 patent

14 was covered by the GSLA.

15          In addition, with respect to “the 2022 demands from Mr. Falcucci,” as can be seen from

16 the correspondence attached to the SAC, Mr. Falcucci did not write to Plaintiff on behalf of DT or

17 even mention DT anywhere in his email. See Dkt 38-5. Mr. Falcucci’s letter cannot possibly

18 constitute a breach of the covenant not to sue by DT.

19          Furthermore, sending a demand letter is not the same as filing a lawsuit. Thus, even if the

20 correspondence from Mr. Falcucci were deemed a “demand”—a point Defendants emphatically

21 dispute—and was deemed to have originated from DT, then that correspondence still would not

22 constitute a breach of DT’s covenant not to sue in the GSLA.

23

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                              DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 15 of 21                     12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                               Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page16
                                                                       17ofof21
                                                                              22




 1          Finally, with respect to Mr. Rothschild, since there are no facts sufficient to show that either

 2 RBDS or DT breached or anticipatorily breached the covenant not to sue in the GSLA for at least

 3 the reasons provided above, there are likewise no facts sufficient to show that Mr. Rothschild has

 4 breached or anticipatorily breached that covenant by virtue of his control of RBDS and/or DT.

 5          Count III of Plaintiff’s SAC should therefore be dismissed.

 6          C.      Defendants Did Not Violate Washington’s Patent Troll Prevention Act

 7          Plaintiff’s claims under RCW 19.86 are premised on an alleged violation of Washington’s

 8 Patent Troll Prevention Act, RCW 19.350 (the “PTPA”). See Dkt #38 at ¶ 90. In particular,

 9 Plaintiff’s Complaint alleges that Mr. Falcucci’s March 2022 letter and Mr. Meyler’s June 2023

10 letter constituted a “bad faith” assertion of patent infringement under the PTPA. See id. at ¶¶ 79-

11 89.

12          In support of the allegation that Defendants acted in bad faith by sending Mr. Falcucci’s

13 and Mr. Meyler’s letters, Plaintiff’s SAC alleges that factors (d), (f) and (g) of RCW 19.350.020(2)

14 weigh in favor of such a finding. See Dkt #38 at ¶ 89. Plaintiff, however, has failed to allege facts

15 sufficient to show that factors (f) and (g) of RCW 19.350.020(2) are even present here, much less

16 that they support Plaintiff’s claims.

17          First, factor (f) of RCW 19.350.020(2) expressly requires that “a court found the person’s

18 assertion [of infringement] to be without merit or found the assertion contains false, misleading,

19 or deceptive information.” See RCW 19.350.020(2)(f). As conceded in the SAC, however, despite

20 having asserted the ‘221 patent against some 127 different companies, no court has ever found

21 Defendant’s assertions of infringement to be without merit or containing false, misleading, or

22 deceptive information. See Dkt #38 at ¶ 89(b). Plaintiff has therefore failed to allege facts sufficient

23 to show that factor (f) of RCW 19.350.020(2) has been met.

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 16 of 21                    12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
           Case
            Case5:24-cv-00703-PCP
                 2:23-cv-01016-JNW Document
                                    Document37-1
                                             40 Filed
                                                 Filed01/30/24
                                                       05/30/24 Page
                                                                 Page17
                                                                      18ofof21
                                                                             22




 1          Plaintiff improperly attempts to reference a case involving a different entity controlled by

 2 PAM and a different patent to try to support its allegation that factor (f) is present in this case and

 3 weighs in Plaintiff’s favor. See Dkt #38 at ¶ 89(b)(iii) – (vi). The facts alleged by Plaintiff,

 4 however, even if true, cannot support Plaintiff’s claim since the relevant language of the statute

 5 specifically requires that any case being considered under factor (f) be “based on the same or

 6 substantially equivalent assertion of patent infringement.” RCW 19.350.020(2)(f) (emphasis

 7 added). What may have happened in another case involving a different entity and a different patent

 8 is utterly irrelevant to factor (f) of RCW 19.350.020(2).

 9          Factor (g) of RCW 19.350.020(2) relates to “[a]ny other factor the court determines to be

10 relevant.” For this factor, Plaintiff’s SAC attempts to conflate an inadvertent clerical error—Mr.

11 Meyler’s overlooking the ‘221 patent in the GSLA because it was assigned to Ariel Inventions

12 LLC, a company that he had never represented and with whom he had no prior relationship, rather

13 than to one of his clients—with bad faith. See Dkt #38 at ¶ 89(c). But Plaintiff again ignores the

14 fact that when Mr. Meyler had been apprised of a similar clerical error in the past, he very promptly

15 dismissed the lawsuit asserting the licensed patent. Plaintiff has therefore failed to allege facts

16 sufficient to show that factor (g) should weigh in favor of a finding of bad faith.

17          Finally, much like Plaintiff’s original Complaint and First Amended Complaint, Plaintiff’s

18 SAC again fails to address any of the factors set forth in the PTPA showing that Defendants acted

19 in good faith by sending Mr. Falcucci’s and Mr. Meyler’s letters. See RCW 19.360.020(5). These

20 factors include the following: (i) as shown by the claim charts attached to Mr. Meyler’s letter,

21 Defendants had engaged in a reasonable analysis to establish a reasonable, good faith basis for

22 believing Valve had infringed the ‘221 patent and Mr. Meyler’s letter, at the very least, was an

23 attempt to negotiate an appropriate remedy in a reasonable manner (RCW 19.360.020(5)(b)); (ii)

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 17 of 21                    12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page18
                                                                       19ofof21
                                                                              22




 1 Defendants have successfully enforced the ‘221 patent, or a substantially similar patent, through

 2 litigation (RCW 19.360.020(5)(c)(ii)); and (iii) Mr. Rothschild is the inventor of the ‘221 patent

 3 (RCW 19.360.020(5)(e)).

 4          Plaintiff has therefore failed to allege facts sufficient to show that Defendants’ assertion of

 5 infringement of the ‘221 patent was not made in good faith, particularly when the factors that

 6 Plaintiff chose to ignore all support such a conclusion. Plaintiff’s Count IV should therefore be

 7 dismissed.

 8          D.      Plaintiff’s Claims Against Meyler Legal and Samuel Meyler Must Be
                    Dismissed Based on the Litigation Privilege
 9
            “The ‘litigation privilege’ is a judicially created privilege that protects participants—
10
     including attorneys, parties, and witnesses—in a judicial proceeding against civil liability for
11
     statements they make in the course of that proceeding.” Young v. Rayan, 533 P.3d 123, 128 (Wash.
12
     Ct. App. 2023) (citing Mason v. Mason, 19 Wash. App. 2d 803, 830-31, 497 P.3d 431 (2021)
13
     review denied, 199 Wash.2d 1005, 506 P.3d 638 (2022); Deatherage v. Examining Board of
14
     Psychology, 134 Wash.2d 131, 135-36, 948 P.2d 828 (1997)). The litigation privilege applies to
15
     “communications preliminary to a proposed judicial proceeding . . . or . . . as a part of a judicial
16
     proceeding.” Restatement of Torts 2d, § 586; see also Engelmohr v. Bache, 66 Wn.2d 103, 104-
17
     05, 401 P.2d 346 (1965); Demopolis v. Peoples National Bank of Washington, 59 Wn. App. 105,
18
     109-10, 796 P.2d 426 (1990) (same).
19
            “The purpose of the litigation privilege doctrine is to encourage frank, open, untimorous
20
     argument and testimony and to discourage retaliatory, derivative lawsuits. As applied to attorneys,
21
     it furthers ‘a public policy of securing to [counsel] as officers of the court the utmost freedom in
22
     their efforts to secure justice for their clients.’” Young, 533 P.3d at 129 (citing Mason, 19 Wash.
23

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                            DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 18 of 21                   12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                             Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page19
                                                                       20ofof21
                                                                              22




 1 App. 2d at 831, 497 P.3d 431 (quoting McNeal v. Allen, 95 Wash.2d 265, 267, 621 P.2d 1285

 2 (1980)).

 3          “Though it often arises in the context of defamation suits, the courts have rejected the

 4 notion that litigation privilege applies only to that claim. Our supreme court, in the context of

 5 witness immunity, has said that the chilling effect of subsequent litigation ‘is the same regardless

 6 of the theory on which that subsequent litigation is based.’” Young, 533 P.3d at 129 (citing Bruce

 7 v. Byrne-Stevens & Associates Engineers, Inc., 113 Wash.2d 123, 131-32, 776 P.2d 666 (1989)).

 8 “More generally, the supreme court has used broad language to describe the litigation privilege's

 9 scope, saying that it ‘applies to statements made in the course of judicial proceedings and acts as

10 a bar to any civil liability.’” Id. (citing Deatherage, 134 Wash.2d at 135, 948 P.2d 828 (emphasis

11 added)). “Litigation privilege has been applied to bar liability under a range of causes of action,

12 including civil conspiracy.” Id. (citing Jeckle v. Crotty, 120 Wash. App. 374, 386, 85 P.3d 931

13 (2004)).

14          All of Plaintiff’s allegations against Meyler Legal and Mr. Meyler arise out of their

15 representation of their clients and communication(s) on behalf of their clients in connection with

16 judicial proceedings, both past and present. Plaintiff’s claims against Meyler Legal and Mr. Meyler

17 are precisely the type of retaliatory derivative action that the litigation privilege protects attorneys

18 from where they have done nothing more than seek to meet their professional duties by zealously

19 advocating for their clients. Plaintiff’s claims against Meyler Legal and Mr. Meyler should

20 therefore be dismissed with prejudice.

21          E.      Plaintiff is not Entitled to Any Damages

22          Pursuant to the express terms of the GSLA, “[i]n no event shall [Mr. Rothschild or DT] be

23 liable for any special, punitive or exemplary damages or for loss of profits or revenue, or any

24
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
       SECOND AMENDED COMPLAINT – Page 19 of 21                    12055 15th Ave NE | Seattle, WA 98125
       Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
           Case
            Case5:24-cv-00703-PCP
                 2:23-cv-01016-JNW Document
                                    Document37-1
                                             40 Filed
                                                 Filed01/30/24
                                                       05/30/24 Page
                                                                 Page20
                                                                      21ofof21
                                                                             22




 1 indirect, consequential or incidental damages arising out of, or in connection with, this Agreement

 2 . . ..” Dkt #38-6 at ¶ 9.5. Thus, even if Plaintiff is ultimately able to prevail on one or more of the

 3 counts in the SAC, Plaintiff is precluded from recovering any of its alleged damages.

 4          Plaintiff’s SAC therefore fails to state facts sufficient to show that Plaintiff is entitled to

 5 any of the damages it seeks. Plaintiff’s claims for damages, treble damages, and punitive damages

 6 in the Prayer for Relief should therefore be dismissed. See Negrel v. Drive N Style Franchisor Spv

 7 LLC, No. SACV 18-00583 JVS(KESx), 2018 U.S. LEXIS 227479, at *14 (C.D. Cal. Aug. 27,

 8 2018) (holding request to dismiss prayers for damages are properly analyzed under Fed. R. Civ. P.

 9 12(b)(6)).

10 V.       CONCLUSION

11          For at least the reasons above, Plaintiff’s SAC should be dismissed in its entirety.

12

13

14

15

16

17

18

19

20

21

22

23

24
      DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                             DC LAW GROUP
      SECOND AMENDED COMPLAINT – Page 20 of 21                    12055 15th Ave NE | Seattle, WA 98125
      Case No. 2:23-cv-01016                                              Phone: (206) 494.0400
            Case
             Case5:24-cv-00703-PCP
                  2:23-cv-01016-JNW Document
                                     Document37-1
                                              40 Filed
                                                  Filed01/30/24
                                                        05/30/24 Page
                                                                  Page21
                                                                       22ofof21
                                                                              22




 1          I certify that this memorandum contains 5,647 words, in compliance with the Local Civil

 2 Rules.

 3

 4 Dated: January 30, 2024                      Respectfully submitted,

 5
                                                By: /s/ Matthew J. Cunanan
 6                                                 Matthew J. Cunanan (#42530)
                                                   DC LAW GROUP
 7                                                 12055 15th Ave NE, Suite B
                                                   Seattle, WA 98125
 8                                                 Tel: (206) 494-0400
                                                   Fax: (855) 494-0400
 9                                                 Email: matthew@dclglawyers.com

10                                                 Donald R. McPhail (admitted phv)
                                                   1940 Duke Street
11                                                 Alexandria, Virginia 22314
                                                   Tel: (703) 412-1432
12                                                 Fax: (703) 413-2220
                                                   Email: dmcphail@oblon.com
13
                                                   Attorneys for Defendants Leigh Rothschild,
14                                                 Rothschild Broadcast Distribution Systems,
                                                   LLC, Display Technologies, LLC, Patent Asset
15                                                 Management, LLC, Meyler Legal, PLLC, and
                                                   Samuel Meyler
16

17

18

19

20

21

22

23

24
     DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S                          DC LAW GROUP
     SECOND AMENDED COMPLAINT – Page 21 of 21                 12055 15th Ave NE | Seattle, WA 98125
     Case No. 2:23-cv-01016                                           Phone: (206) 494.0400
